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               EXHIBIT B
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                                                                   12/28/2020  9:47 AM
                                                                                       Rhonda Barchak, District Clerk
                                                                                       Brazoria County, Texas
                                                                                       110378-CV
                                                                                       Sunnye Wingo, Deputy

                                      CAUSE NO. 110378-CV

JEFFFREY WILSON,                                    §                    IN THE DISTRICT COURT
     Plaintiff,                                     §
                                                    §
VS.                                                 §                   412th JUDICIAL DISTRICT
                                                    §
HOME DEPOT USA, INC.                                §
    Defendant.                                      §               BRAZORIA COUNTY, TEXAS


             DEFENDANT HOME DEPOT U.SA., INC.’S ORIGINAL ANSWER
                     TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE:

        COMES NOW Defendant Home Depot U.S.A., Inc. (“Defendant” herein) in the above-

entitled and numbered cause, and for its Original Answer to Plaintiff’s Original Petition would

respectfully show unto the Court as follows:

                                              I.
                                        GENERAL DENIAL

1.      Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant hereby enters a general

denial, and demands that Plaintiff be required to prove his allegations by a preponderance of the

evidence.

                                            II.
                                   AFFIRMATIVE DEFENSES

2.      By way of affirmative defense, Defendant affirmatively alleges that the incident made the

basis of this suit and Plaintiff’s damages, if any, were proximately caused by Plaintiff’s own fault

and/or negligence.

3.      Plaintiff’s injuries and damages, if any, were unavoidable, were the result of preexisting

injuries or conditions, were the result of natural and ordinary diseases of life or were caused in whole

or in part by “acts of God” or environmental or other factors over which Defendant had no control.
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4.      Defendant asserts the doctrine of comparative causation, which may bar any recovery by

Plaintiff, or may in the alternative reduce the amount of recovery by Plaintiff based on the

Plaintiff’s own percentage of fault.

5.      Defendant asserts the affirmative defense of contributory negligence. The negligence of

Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or, in the

alternative, must be reduced in accordance with the relative degree of Plaintiff’s own negligence.

Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.

6.      Defendant is entitled to all caps and limitations on damages pursuant to the Texas Civil

Practice & Remedies Code.

7.      Defendant is not responsible for any expenses or damages allegedly incurred by Plaintiff

due to Plaintiff’s own acts, conduct, negligence and/or failure to exercise reasonable care in

mitigating Plaintiff’s damages.

8.      Plaintiff’s own negligent acts were more than 50% of the proximate cause of Plaintiff’s

injuries. Under Chapter 33 of the Texas Civil Practice and Remedies Code, Plaintiff is not entitled

to the relief requested in the Petition. To the extent that Plaintiff’s proportionate responsibility is

less than 50%, Plaintiff’s damages must be reduced by the percentage to which Plaintiff is

responsible for their injuries.

9.      Defendant alleges that Plaintiff's injuries and/or damages were caused by an intervening

event for which Defendant has no liability.

10.     To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set forth

in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of Plaintiff’s
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medical or health care expenses are limited to the amount actually paid or incurred by or on behalf

of Plaintiff.

11.     To the extent that any health care provider has written off its charges for medical care for

Plaintiff and/or paid charges for medical care in connection with the injuries underlying this suit,

and in the unlikely event that Plaintiff obtains a final judgment against Defendant, Defendant is

entitled to a credit and/or offset for the total amount of such write-offs and/or expenditures incurred

and paid by others and accruing to Plaintiff pursuant to Texas Civil Practice & Remedies Code

Section 41.0105.

12.     Defendant is entitled to a credit or offset equal to the amount of any and all sums that the

Plaintiff has received, or may hereinafter receive, by way of settlement with any person or party.

Alternatively, Defendant contends that it is entitled to a proportionate reduction of any damages

found against it based upon the percentage of negligence attributable to the settling tortfeasor,

cross claimant, designated third party, or other party to this case.

13.     Any claims for pre-judgment interest are limited by the dates and amounts set forth in

Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil Practice &

Remedies Code.

14.     Defendant alleges that the injuries and damages alleged by Plaintiff may be due to

Plaintiff’s own negligence and recklessness in that Plaintiff’s failure to exercise ordinary care

proximately caused, in whole or in part, the alleged injuries and damages complained of by

Plaintiff. Plaintiff’s acts and omissions, whether taken together or separately, may be the sole

proximate cause, or a proximate cause of the injuries and damages Plaintiff has alleged in this

lawsuit. Any recovery by Plaintiff is therefore barred, or alternatively should be reduced in

accordance with the applicable law.
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15.     The injuries pled by Plaintiff may have been caused, in whole or in part, by superseding

and/or intervening causes, including preexisting conditions and/or injuries and subsequently

occurring injuries and/or conditions that were not Defendant’s own creation.

16.     Defendant states that the alleged occurrence, incident, event or accident underlying this

suit may have been caused by the negligence of a third party or parties over whom Defendant had

no control and said negligence was the proximate cause, or in the alternative, the sole proximate

cause of the occurrence, incident, event or accident underlying this suit and of the alleged damages

to Plaintiff.

17.     In the highly unlikely and remote event that the Plaintiff should recover any amount of

money damages for lost income or loss of earning capacity, Defendant affirmatively pleads that

such recovery is only recoverable in an amount reduced to present value and after all income taxes

have been deducted.

18.     The alleged condition complained of by the Plaintiff was open and obvious to a reasonably

prudent person and therefore the Plaintiff either knew or should have known of any alleged

deficiencies in the subject property and accepted the same with such knowledge. As a result,

Plaintiff’s recovery should be barred.

19.     Defendant asserts the defense of unavoidable accident. The damages Plaintiff claims were

due to an accident that was not caused by the negligence of any party, and one that could not be

prevented by the exercise of due care.

                                             III.
                                      PRAYER FOR RELIEF

        WHEREFORE, PREMISES CONSIDERED, Defendant Home Depot U.S.A., Inc. prays that

Plaintiff take nothing by this action and Defendant be dismissed with its costs, and for such other

relief, both general and specific, at law or in equity, to which Defendant may be justly entitled.
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                                                   Respectfully submitted,
                                                   Hawkins Parnell & Young, LLP

                                           By:     /s/ Amy Welborn
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                                                   4514 Cole Ave., Suite 500
                                                   Dallas, TX 75205
                                                           -AND-
                                                   2705 Bee Caves Road, Suite 220
                                                   Austin, Texas 78746

                                                   ATTORNEYS FOR DEFENDANT
                                                   HOME DEPOT U.S.A., INC.


                                CERTIFICATE OF SERVICE

       I hereby certify by my signature above that a true and correct copy of the foregoing
document has been sent via electronic service to counsel of record in accordance with the Texas
Rules of Civil Procedure, on this the 28th day of December 2020.

       David Aziel Garcia
       Tom Landry
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       DAG Law Firm P.C.
       4101 Washington Ave, 1st Floor
       Houston, Texas 77007
